






NO. 07-01-0472-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 13, 2001


______________________________



LEONE PLUMMER,




		Appellant


v.



CHARLENE J. REEVES,




		Appellee

_________________________________



FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;



NO. 37,940-C; HON. PATRICK PIRTLE, PRESIDING


_______________________________



ORDER OF ABATEMENT


_______________________________



Before BOYD, C.J., and QUINN and REAVIS, JJ.

	Leone Plummer  (appellant) appeals the September 4, 2001  judgment of the 251st
District Court of Randall County in favor of appellee. Subsequent to the filing of the notice
of appeal, this court received notice from counsel for appellee that appellant has filed a
voluntary petition as debtor under Chapter 13 of the United States Bankruptcy Code.  Said
notice included a file-marked copy of said petition.  Pursuant to 11 U.S.C. § 362, any
further action in this appeal is automatically stayed.  

	Under these circumstances, and for administrative purposes, this appeal is removed
from the docket of this Court and abated.  The appeal will be reinstated upon proper
motion showing that the stay has been lifted and specifying the action required by this
Court.

	Accordingly, the appeal is abated.


							Per Curiam

							



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 center"&gt;IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

MAY 20, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;______________________________

JUAN JOSE DURAN, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 222ND DISTRICT COURT OF DEAF SMITH COUNTY;

NO. CR-06I-108; HONORABLE ROLAND SAUL, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Juan Jose Duran, appeals his convictions for one count of aggravated
sexual assault and three counts of sexual assault.  After finding the enhancement portions
of the indictment true, the jury assessed punishment at a term of confinement of 25 years
for aggravated sexual assault and 15 years for each count of sexual assault, all terms of
confinement to run concurrently.  By one issue, appellant claims that the trial court erred
in overruling his motion to suppress his confession.  We affirm.
&nbsp;
Factual and Procedural Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 14, 2006, appellant was arrested for the unrelated offense of public
intoxication.  While in jail, appellant was interviewed by a Hereford Police Department
detective.  As a result of that interview, appellant gave a written statement admitting that
he had sexual contact with the victim in the case before the court, though appellant
characterized the encounter as consensual.  As part of the process of giving a statement,
appellant initialed and signed a card that listed his constitutional rights pursuant to Miranda
v. Arizona.


  Additionally, the written statement form signed by the appellant contained the
same Miranda warnings above appellant’s actual statement.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s trial counsel filed a motion to suppress the written statement alleging
that the statement was taken in violation of appellant’s constitutional rights under the
applicable provisions of both the United States and Texas Constitutions.  Additionally,
appellant contends that the statement was taken without following the requirements of
article 38.22 of the Texas Code of Criminal Procedure.


  See Tex. Code  Crim. Proc. Ann.
art. 38.22 (Vernon 2005).  The trial court held hearings on appellant’s motion to suppress
on December 21, 2006, and January 4, 2007.  On both occasions, the trial court overruled
appellant’s motion to suppress.  
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the case before the court, appellant contends that the detective who took his
statement never read his Miranda rights to him before the statement was reduced to
writing.  The conflict in the testimony revolves around the issue of whether or not appellant
could read.  At the first suppression hearing, the detective testified he asked appellant if
he could read to which appellant responded that he could read.  The detective then gave
appellant the card with the Miranda warnings and watched as appellant “apparently” read
the warnings.  In contrast, appellant testified at the same suppression hearing that he told
the detective he could not read and that the detective gave him the card and told him to
initial the same.  The detective further testified that he had appellant dictate his statement,
which the detective reduced to writing, and that he then read the statement to appellant
including the Miranda warnings before appellant signed the same.  At the second
suppression hearing, the State produced the witness to appellant’s signature who verified
that the statement, including the warnings, was read aloud to appellant before appellant
signed the statement.  
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When reviewing a trial court’s decision to deny a motion to suppress, we review the
decision under an abuse of discretion standard.  Oles v. State, 993 S.W.2d 103, 106
(Tex.Crim.App. 1999). However, when the facts underlying the trial court’s decision are not
in dispute, we apply a de novo review.  In the present case, the facts regarding whether
appellant could read and whether the required warnings were read to him before he
executed the statement are contested; therefore, the abuse of discretion standard is
applicable.  See art. 38.22.  See also State v. Ross, 32 S.W.3d 853, 858 (Tex.Crim.App.
2000).  Whether the trial court abused its discretion depends upon whether, given the
record and the law, its decision fell outside the zone of reasonable disagreement.  See
Benitez v. State, 5 S.W.3d 915, 918 (Tex.App.–Amarillo 1999, pet. ref’d).  In reviewing trial
court rulings on motions to suppress, appellate courts afford almost total deference to trial
court determinations of historical facts and to decisions involving mixed questions of law
and fact if the resolution of those questions depends on an evaluation of credibility and
demeanor.  Guzman v. State, 955 S.W.2d 85, 89 (Tex.Crim.App. 1997).  The trial judge
may believe or disbelieve all or any part of a witness's testimony, even if that testimony is
not controverted.  Ross, 32 S.W.3d at 855.  Finally, we must uphold the trial court’s
decision on any grounds, whether or not relied upon by the trial court, when the standard
of review is abuse of discretion.  Id. at 855-56.
Application
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s contention is that since he cannot read, according to his own testimony,
he could not have read the warnings.  If he did not read the warnings then, according to
appellant’s theory, he could not have knowingly waived his rights guaranteed by those
warnings.  Finally, under appellant’s theory, there is no way that the statement could have
been taken in conformity with the requirements of the Texas Code of Criminal Procedure. 
See art. 38.22.  If the statement was not taken in conformity with the procedural rules, the
same was not then admissible.  Id. at § 2.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The flaw in appellant’s theory is the assumption that the trial court had to agree that
appellant could not read.  The trial court heard conflicting evidence regarding this matter. 
The State’s witness testified appellant said he could read, albeit not well.  The appellant
testified he could not read at all.  However, it is uncontradicted that appellant took the
warning card from the detective and appeared to read the same.  It was the province of the
trial court to resolve this issue of credibility. Ross, 32 S.W.3d at 855.  Accordingly, when
the trial court denied the motion to suppress he, at least impliedly, found the more credible
testimony to be that of the State’s witness. Id. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, there is the testimony at the second hearing on the motion to suppress
wherein the State’s witness testified he watched and heard the detective who was taking
the statement read the entire document to appellant before he signed it.  The statement,
which was introduced, included the statements of appellant’s rights under Miranda and
therefore comported with the requirements of the Texas Code of Criminal Procedure.  See
art. 38.22 § 2.  Again, it was the trial court’s province to believe or disbelieve this testimony. 
Ross, 32 S.W.3d at 855. Further, the record supports the implied finding that the warnings
were given before the statement was completed. Id.  Accordingly, the warnings were
sufficient to meet the statutory requirements. See Brooks v. State, 991 S.W.2d 39, 41
(Tex.App.–Fort Worth 1998, pet. ref’d).  Therefore, the trial court did not abuse its
discretion and appellant’s issue is overruled.
&nbsp;
&nbsp;
&nbsp;
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled appellant’s sole issue, the trial court’s judgment is affirmed.
&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

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